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7
8                                     UNITED STATES DISTRICT COURT
9                                 EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                      Case No. 1:09-cr-00272-DAD-BAM-10

12                       Plaintiff,                  AMENDED STIPULATED MOTION AND
                                                     ORDER TO REDUCE SENTENCE
13           v.                                      PURSUANT TO 18 U.S.C. § 3582(c)(2)

14    ABUNDIO HERNANDEZ,                             RETROACTIVE DRUGS-MINUS-TWO
                                                     REDUCTION CASE
15                       Defendant.
                                                     Judge: Honorable ANTHONY W. ISHII
16
17           Defendant, ABUNDIO HERNANDEZ, by and through his attorney, Assistant Federal

18    Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through

19    its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:
20           1.       Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21    imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22    based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23    pursuant to 28 U.S.C. § 994(o);
24           2.       On May 31, 2011, this Court sentenced Mr. Hernandez to a term of 86 months

25    imprisonment;
26           3.       His total offense level was 31, his criminal history category was I, and the
27    resulting guideline range was 108 to 135 months. He received a reduction from the low-end of

28    the range on the government’s motion;
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1            4.      The sentencing range applicable to Mr. Hernandez was subsequently lowered by

2     the United States Sentencing Commission in Amendment 782, made retroactive on July 18,

3     2014, see 79 Fed. Reg. 44,973;

4            5.      Mr. Hernandez’ total offense level has been reduced from 31 to 29, and his

5     amended guideline range is 87 to 108 months. A reduction comparable to the one he received

6     initially yields a term of 69 months;

7            6.      Accordingly, the parties request the Court enter the order lodged herewith

8     reducing Mr. Hernandez’ term of imprisonment to 69 months.

9
10    Respectfully submitted,

11    Dated: January 22, 2016                      Dated: January 22, 2016
12    BENJAMIN B. WAGNER                           HEATHER E. WILLIAMS
      United States Attorney                       Federal Defender
13
14
      /s/__Kathleen A. Servatius___ __             /s/ Hannah R. Labaree
15    KATHLEEN A. SERVATIUS                        HANNAH R. LABAREE
      Assistant U.S. Attorney                      Assistant Federal Defender
16
      Attorney for Plaintiff                       Attorney for Defendant
17    UNITED STATES OF AMERICA                     ABUNDIO HERNANDEZ

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                                                    ORDER
1
2              This matter came before the Court on the stipulated motion of the defendant for reduction

3     of sentence pursuant to 18 U.S.C. § 3582(c)(2).

4              The parties have stipulated, and the Court finds, that Mr. Hernandez is entitled to the

5     benefit of Amendment 782 to the United States Sentencing Guidelines, application of which

6     reduces his total adjusted offense level from 31 to 29, resulting in an amended sentencing

7     guideline range of 87 to 108 months. A reduction from the sentencing guideline range

8     commensurate to the one defendant Hernandez received at the time of his original sentencing

9     yields a term of 69 months imprisonment.

10             IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2011 is

11    reduced to a term of 69 months. If this sentence is less than the amount of time the defendant

12    has already served as of the date of this order, the sentence is reduced to a time served sentence.

13             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment

14    remain in effect. The clerk shall forthwith prepare an AO247 form reflecting the above

15    reduction in sentence, and shall serve certified copies of the AO247 on the United States Bureau

16    of Prisons and the United States Probation Office.

17             Unless otherwise ordered, Mr. Hernandez shall report to the United States Probation

18    Office within seventy-two hours after his release from confinement.

19
20    IT IS SO ORDERED.

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22
23    Dated:     January 25, 2016
24                                                           DALE A. DROZD
25                                                           UNITED STATES DISTRICT JUDGE
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